Case 3:17-cv-00072-NKM-JCH Document 1286 Filed 10/22/21 Page 1 of 2 Pageid#: 21362




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

     ELIZABETH SINES, et al.,
                                                        CASE NO. 3:17-cv-00072
                                   Plaintiffs,

                           v.                           ORDER

     JASON KESSLER, et al.,
                                                        JUDGE NORMAN K. MOON
                                  Defendants.


          Defendant Christopher Cantwell, proceeding pro se, has filed a motion entitled “Motion

   in Limine to Permit Cantwell Court Clothes and Bar Evidence, Testimony, or Argument of his

   Current Incarceration.” Dkt. 1161. Therein, Mr. Cantwell requests that the Court permit him to

   wear “Courtroom appropriate attire” rather than a prison jumpsuit in the presence of the jury. Id.

   at 2. Mr. Cantwell has stated that he “can have clothing delivered.” Dkt. 1273 at 18 (Hr’g Tr. of

   Oct. 20, 2021 Hr’g). Further, he contends that the Court “should exclude evidence, testimony, or

   argument about Cantwell’s current incarceration.” Dkt. 1161 at 2.

          In response to his motion, Plaintiffs asserted that they “do not intend to affirmatively

   introduce evidence of Cantwell’s incarceration.” Dkt. 1193 at 9. Plaintiffs have “no issue at the

   outset as to not mentioning Mr. Cantwell’s incarceration or his wearing court clothes.” Dkt. 1273

   at 18–19. However, Plaintiffs have noted that, if Mr. Cantwell should raise an argument to the

   jury that “his current incarceration negatively impacted” his ability to prepare his defense, such

   argument to the jury “would surely open the door to evidence and questioning regarding his

   current incarceration.” Dkt. 1193 at 10.




                                                    1
Case 3:17-cv-00072-NKM-JCH Document 1286 Filed 10/22/21 Page 2 of 2 Pageid#: 21363




           Upon consideration of the parties’ briefs on these issues and the argument at the status

   conference of October 20, 2021, there is no dispute Mr. Cantwell should be permitted to wear

   court-appropriate attire, and that Plaintiffs will not affirmatively raise the issue of his current

   incarceration at trial. Nor is there any present indication that Mr. Cantwell will seek to raise to

   the jury an argument of the nature identified by Plaintiffs, such as might “open[ ] the door” to the

   issue and make Mr. Cantwell’s incarceration relevant. See Dkt. 1273 at 19–20.

           Accordingly, the Court will GRANT in part Mr. Cantwell’s motion, concerning his

   request to wear court-appropriate attire, and, subject to the conditions set forth above, that Mr.

   Cantwell’s current incarceration not be raised affirmatively at trial. Dkt. 1161. However, the

   latter ruling shall be subject to revisitation if Mr. Cantwell’s arguments at trial affirmatively

   make the issue of his current incarceration relevant. *

           It is so ORDERED.

           The Clerk of Court is directed to send a copy of this Order to all counsel of record and to

   the U.S. Marshals Service.

                        22nd day of October, 2021.
           Entered this ______




           *
            The Court will separately address Mr. Cantwell’s separate “Motion in Limine to
   Exclude Evidence of Cantwell’s Prior Alleged Felonious Conduct.” Dkt. 1124. And the Court
   will address with the U.S. Marshals Service Mr. Cantwell’s request that he be permitted to not
   wear handcuffs at trial. Dkt. 1161 at 2 (¶ 6).
                                                      2
